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Counsel for Plaintiff Denali Nicole Smith

                               IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF ALASKA

DENALI NICOLE SMITH,
                                       Plaintiff,
         vs.

MICHAEL DUNLEAVY, in his official
capacity of Governor of the State of Alaska,
KEVIN CLARKSON, in his official capacity as
Attorney General of the State of Alaska,
BRUCE TANGEMAN, in his official capacity
as Commissioner of the State of Alaska,
Department of Revenue, ANNE WESKE, in her
official capacity as Director of the Permanent       Case No. 3:19-cv-00298-HRH
Fund Division, State of Alaska, Department of
Revenue,                                             DECLARATION OF COUNSEL HEATHER
                                                     GARDNER IN SUPPORT OF COMPLAINT
                                     Defendants.



         I, Heather Gardner, declare and affirm as follows:




SMITH V. DUNLEAVY ET AL.
CASE NO.: 3:19-cv- 00298-HRH
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DECLARATION OF COUNSEL
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         1.        I am counsel of record for Plaintiff, Denali Nicole Smith, in this action

brought under 42 U.S.C. § 1983 and 28 U.S.C. §§ 2201-02 for damages, declaratory, and

injunctive relief against the above listed Defendants.

         2.        The following Declaration is filed in support of the Complaint in this action

and in support of Plaintiff’s and co-counsel’s contemporaneously filed Declarations.

         3.        Upon diligent review of the facts that form the basis for the Complaint prior

to its filing, including (but not limited to) review of the documents and communications

Plaintiff received from the State of Alaska, I determined that there is a factual basis for

the allegations set forth in the Complaint.        The Complaint was filed in good faith and

there appears to be a sound factual basis for the claims contained therein.

         4.        As to the against co-counsel and the Plaintiff that this is a “false lawsuit”

and other similar comments made by Defendant Clarkson to the news media and public, I

can state with reasonable certainty that when the Defendant made the comments on

Friday, November 22, 2019, no Defendant had been formally served with the Complaint

or Summons in this matter. The court mailed the original issued Summons for each

Defendant to my office; they arrived in the mail from the court on November 22, 2019,

and were still in my possession when Defendant Clarkson issued his Friday afternoon

press release a couple of hours later.

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         FURTHER DECLARANT SAYETH NAUGHT.

         Declared and affirmed this 25th day of November, 2019.


                                                /s/ Heather Gardner
                                                __________________________
                                                Heather Gardner ABA #011079
                                                Counsel for Plaintiff




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